                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


  BRENNAN M. GILMORE,

                           Plaintiff,

                v.


  ALEXANDER (“ALEX”) E. JONES;                          No. 3:18-cv-00017-NKM-JCH
  INFOWARS, LLC, a Texas Limited Liability
  Company; FREE SPEECH SYSTEMS, LLC, a
  Texas Limited Liability Company; LEE
  STRANAHAN; LEE ANN MCADOO A/K/A
  LEE ANN FLEISSNER; SCOTT CREIGHTON;
  JAMES (“JIM”) HOFT; DERRICK WILBURN;
  MICHELE HICKFORD; and WORDS-N-IDEAS,
  LLC,

                           Defendants.


  PLAINTIFF’S NOTICE REGARDING HEARING ON DEFENDANTS’ MOTIONS FOR
    RECONSIDERATION OR CERTIFICATION FOR INTERLOCUTORY APPEAL


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  Brianne J. Gorod, admitted pro hac vice           COHEN MILSTEIN SELLERS & TOLL PLLC
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                              Counsel for Plaintiff Brennan Gilmore




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         Plaintiff Brennan Gilmore respectfully files this notice to advise the Court that he does not

  believe a hearing is necessary to decide Defendants’ motions for reconsideration and interlocutory

  appeal. As explained in detail in Plaintiff’s May 16, 2019 response to Defendants’ motions,

  Defendants have not met the heavy burden required to obtain reconsideration or interlocutory

  review. See Dkt. No. 145. Instead, Defendants have simply rehashed the same arguments they

  made in their motions to dismiss regarding why the Court lacks personal jurisdiction over them,

  arguments which this Court rejected in its well-reasoned opinion. See Dkt. No. 123. For that

  reason, it would unnecessarily waste this Court’s time and tax this Court’s resources to hold a

  hearing on motions that restate the same arguments this Court heard at the November 13, 2018

  hearing on Defendants’ motions to dismiss.


  Dated: June 18, 2019                                 Respectfully submitted,

                                                        /s/ Andrew Mendrala
  Elizabeth B. Wydra, admitted pro hac vice            Andrew Mendrala, VA State Bar #82424
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                               Counsel for Plaintiff Brennan Gilmore




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2019, a true and correct copy of the foregoing document

  was served on all parties via the Electronic Case Filing (ECF) system.

  Dated: June 18, 2019


                                                              /s/ Andrew Mendrala
                                                              Andrew Mendrala




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